Case 2:10-md-02179-CJB-DPC Document 4372-1

®) CT Corporation

To: Tara Lindsey
BP America Inc.

Filed 10/21/11 Page 1 of 13

Service of Process
Transmittal
09/27/7011

CT Loy Number 519249255

501 WestLake Park Blyd., Matter: 21714

Yendar: 0080178147
Houston, TX 77079

RE: Process Served In Louisiana

FOR: BP America Inc. (Domestic State: DE)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:

DOCUMENT(S) SERVED:

COURT/AGENCY:

NATURE OF ACTION:

ON WHOM PROCESS WAS SERVED:

DATE AND HOUR CF SERVICE:
JURISDICTION SERVED :
APPEARANCE OR ANSWER BUE:

ATTORNEY(S) | SENDER{S):

ACTION ITEMS:

SIGNED:
PER:
ADDRESS:

TELEPHGNE:

Kenneth and Velma Campo, Pitfs. vs. BP America, Inc. and BP Exploration &
Preduction, Inc., Dfts.
Name discrepancy noted.

Citation, Petition

34th Judicial District Court, Parish of St. Bernard, LA
Case # 118139

Dfts. refused to proyide the compensation at the rate of $1500 per day as promised
for the rental of a property known as "Campo's Marina or Blackie Campo's Marina"

C T Corporation System, Baton Rouge, LA
By Process Server on 09/27/2011 at 08:35
Louisiana

Within 15 days after service

Lloyd N. Fischhertz

Frischhertz, Poulliard, Frischhertz & Impastato, L.L.C.
1130 St. Charles Avenue

New Orleans, LA 70130

504-523-1500

CT has retained the current log, Retain Date: 09/27/2011, Expected Purge Date:
10/02/2011

Image SOP

Email Notification, Melanie Johnson Melanie.Johnscn@bp.com

Email Notification, Malika Herring malika.herring@bp.com

Email Notification, Tara Lindsey tara. lindsey@bp.com

C T Corporation System
Lisa Uttech

5615 Corporate Blvd
Suite 400B

Baten Rouge, LA 70808
225-922-4490

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Page 1 of 1/ RR

Information displayed en this transmittal is for CT Corporation's
record keeping purposes only and is provided te the reciplent tor
quick reference, This information dees not constitute a legal
opinion as to the nature of action, the amaunt of damages, the
answer date, or any information contained in the documents
themselves. Reciplent fs responsible tor interpreting sald
documents and far taking appropriate action. Signatures an
certified mail receipts.confinm receipt of package only, not
contents,
Case 2:10-md-02179-CJB-DPC Document 4372-1 Filed 10/21/11 Page 2 of 13

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CITATION

Case: # 118-139

_ Division: D
34” Judicial District Court
Parish of St. Bernard
State of Louisiana

KENNETH AND VELMA CAMPO

Versus

BP AMERICA, INC. AND BP EXPLORATION &
PRODUCTION, INC.

TO: BP AMERICA, INC.
THRU ITS REGISTERED AGENT:
CT CORPORATION SYSTEM
5615 CORPORATE BLVD., SUITE 400B
BATON ROUGE, LA 70808

YOU HAVE BEEN SUED. Attached to this Citation is a certifted copy of PET] TION FOR
DAMAGES. The Petition tells you what you are being sued for.

You must either DO WHAT THE PETITION ASKS, OR WITHIN FIFTEEN (15) DAYS after you
have received these documents, you must file an answer or other legal pleadings in the office of the Clerk of
Court at the St. Bernard Parish Courthouse, 1100 W. St. Beard Hwy, Chalmette, LA 70043.

If you do not do what the Petition asks, or if you do not file an answer or legal pleading within
FIFTEEN (15) DAYS, a judgment may be entered against you without further notice.

This Citation was issued by the Clerk of Court for St. Bernard Parish, Louisiana on the 9" day of
SEPTEMBER, 2011.

Lena R. Torres
Clerk of Court
Parish of St. Bernard

py. ese) pbervdo?

LLB/ K. CAMPO

Deputy Clerk
www.stbclerk.com /S/Lisa L. Borden
DOMICILIARY .
Received Parish of St. Bernard on the day of > and on the day of
: , | served a copy of the within -_ by ledving
the same at domicile this Parish in the hands of

a person apparently over the age of 14 years living and residing in said domicile,
whose name and other facts, connected with this service 1 learned by interrogating the same
the said being absent from domicile

at the time of said service.
Returned Parish of St. Bernard

Sheriff
PERSONAL .
Received Parish of St. Bernard on the day of , and on the "__ day of
, , ] served a copy of the within on
on at this

Parish his usual place of domicile, in the Parish of St. Bernard, by handling and delivering the same to in
Retumed Parish of St. Bernard :

Sheriff

Case 2:10-md-02179-CJB-DPC Document 4372-1 Filed 10/21/11 Page 3 of 13

34" JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. BERNARD
; >, Seas

. STATE OF LOUISIANA
DOCKET NO: o. J 8 | 3 ?

: KENNETH AND VELMA CAMPO

VERSUS

BP AMERICA,|INC. and BP EXPLORATION & UETON ING
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ha DEPUPY CLERK CSP

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FILED:

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PETITION FOR DAMAGES

NOW INTO COURT come Plaintiffs, Kenneth and Velma Campo, persons of the full

age of majority and domiciliaries of the State of Louisiana, Parish of St. Tammany, who

respectfully aver as follows:

PARTIES

Made Plaintiffs herein are Kenneth and Velma Campo, who are the owners of the

property at issue-in this litigation, which is located in Shell Beach, Louisiana, in the parish of St.
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Bernard.

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: li,
Made, Defendants herein are:

A) BP America, Inc. 2 foreign corporation whose principal place of business is outside the
State of Louisiana, and who may be served with process through its agent for service, CT

Corporation System, 5615 Corporate Blvd., Suite 400B Baton Rouge, LA 70808; and

B) BP Exploration & Production, Inc., a foreign corporation whose principal place of
business is outside the State of Louisiana, and who may be served with process through
its agent for service, CT Corporation System, 5615 Corporate Blvd., Suite 400B Baton
Rouge, LA 70808. |

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Page 1 of 9
Case 2:10-md-02179-CJB-DPC Document 4372-1 Filed 10/21/11 Page 4 of 13

. “

Venue is proper in’ St. Bernard Parish, as all conduct described of in this suit occurred

within St. Bernard Parish, the representations by Defendants were made by Defendants’

representatives in St. Bernard Parish, and the property at issue in this litigation is located

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within St. Bernard Parish,

FACTS

IV.

Plaintiffs are the owners of the property located in Shell Beach, Louisiana, more

commonly known as “Campo’s Marina” or “Blackie Campo’s Marina.” Plaintiff, Kenneth

Campo, is the sén of the late Frank Campo, Sr., who was more commonly known as “Blackie

1

Campo.”

Vv.

On or about April 20, 2010, due to the conduct of Defendants, BP America, Inc. and BP

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Exploration & Production, Inc. [hereinafter collectively referred to as “BP”], as well as due to

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: the conduct of humerous: other unnamed persons who are not parties to this litigation, an

explosion occurred on the Deepwater Horizon in the Gulf of Mexico, causing what is most

commonly known now as the “BP Oil Spill.”

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j Following the BP {Oil Spill, Defendants appeared on Plaintiffs’ premises requesting

authorization to place equipment, trailers, and other structures on Plaintiffs’ premises.

VIE.

‘ |
At that time, Defendants requested that Plaintiff restrict and preclude any use of their

property to any other person in exchange for Defendants’ agreement to pay lease and rental

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payments to Plaintiffs for the period in which Defendants continued to store equipment, trailers,

and other structures. :

VII.

\ Page 2 of 9
Case 2:10-md-02179-CJB-DPC Document 4372-1 Filed 10/21/11 Page 5 of 13

| Defendants specifically demanded that Plaintiffs provide Defendants exclusive use and

contro] over Plaintiffs’ property from the time of the BP Oil Spill and continuing indefinitely, but

for a period of no less than;six months.

IX.

Defendants specifically promised and agreed that as consideration for Plaintiffs providing
Defendants with.exclusive ‘use and control of Plaintiffs’ property, that Defendants would provide
compensation in, the form! of rental payments to Plaintiff in the amount of one thousand five
hundred dollars: ($1500.60) per day, which totaled ten thousand five hundred dollars

($10,500.00) per week.

X.

_ As a result of the assurances and promises made by Defendants that Defendants would

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pay rental payments to Plaintiffs in the amount of one thousand five hundred dollars ($1500.00)

per day, which .totaled ten thousand five hundred dollars ($10,500.00) per week, Plaintiffs

{ permitted Defendants to! have exclusive possession of Plaintiffs’ property and allowed

Defendants to store equipment, trailers, and other structures on Plaintiffs’ property to the

exclusion of any:other uses of Plaintiffs’ property.

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Defendants instructed Plaintiffs that Plaintiffs were required to submit invoices at the end

of each week in the amount of $10,500 to Defendants.

XII.

Defendants instructed Plaintiffs that Plaintiffs were required to follow a process for the

submission of invoices for payment, and Defendants assured and promised Plaintiffs that

Plaintiffs would, be provided compensation in the amount of $10,500 per week as jong as

Plaintiffs complied with the invoicing procedure.

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Page 3 of 9
Case 2:10-md-02179-CJB-DPC Document 4372-1 Filed 10/21/11 Page 6 of 13

vate.

For the period April 20, 2011 through approximately November 30, 2011, Plaintiffs

complied with Defendants’ invoicing process.
: XIV.

For the period April 20, 20!1 through approximately November 30, 2011, Plaintiffs
continued to invoice Defendants, as instructed by Defendants, in the amount of $10,500 per

week for the rental of Plaintiffs’ premises by Defendants.

XY.

In response to the invoices Defendants received from Plaintiffs, Defendants began

making several payments in the amount of $10,500 per week to Plaintiffs.

XVI.

Defendants repeatedly assured’ and promised Plaintiffs that Defendants would
memorialize the agreement to pay rental in the amount of $1500 per day into a formal contract.
During the time that there was no written agreement, Defendants continued to assure and
promise Plaintiffs that Defendants would pay the amount of $1500 per day in rental of Plaintiffs’

property.
XVI.

Defendants did in fact pay Plaintiffs rental in the amount of $1500 per day for the period

April 29, 2010 through May 16, 2010.

XVHI.

After Defendants made payment for the period April 29, 2010 through May 16, 2010,
Defendants assured and promised Plaintiffs that payments at the same rate of pay would continue
for the rental .of Plaintifts’ property. The payment made by Defendants constituted
representations to Plaintiffs that these rental payments at the rate of $1500 per day would

continue through the termination of the leases on the property for at least six months.

XIX,

Page 40f 9
Case 2:10-md-02179-CJB-DPC Document 4372-1 Filed 10/21/11 Page 7 of 13

After making the payment for the period Apri] 29, 2010 through May 16, 2010,
Defendants advised Plaintiffs that Defendants would only make subsequent payments once a
formal, written contract was executed between the paities to memorialize the agreement between
Plaintiffs and Defendants.. Nevertheless, Defendants assured Plaintiffs that the written, formal
contract would contain payment terms identical as the oral agreement between the parties at a

rate of $1500 per day.

XX,

As a result of the direct representations of Defendants, Plaintiffs agreed to allow
Defendants to continue to lease/rent Plaintiffs’ property and Plaintiffs continued to permit
Defendants to retain exclusive use and occupancy of Plaintiffs’ property to the exclusion of all

other commercial and other uses of the property.
XXI.

From’ May 16, 2010 through approximately September 15, 2010, Defendants repeatedly
assured and promised Plaintiffs that, if Plaintiffs continued to permit Defendants to Jease
Plaintiffs’ property for the storage of trailers, equipment, and other structures, Defendants would

contractually agree to pay Plaintiffs the amount of $1500 per day in rental charges.
XX.
On approximately September 15, 2010, Defendants finally presented Plaintiffs with a
written contract for the rental and lease of Plaintiffs’ property intended 10 be retroactive to May
2010. . '

XXII.

The formal written contract was written entirely by Defendants with no opportunity
whatsoever for Plaintiffs to negotiate the terms of the contract and without any input whatsoever

of Plaintiffs in the terms ofthe contract.

XXIV.

Page 5 of 9
Sapo 2: t0emd-02179-CJB-DPC Document 4372-1 Filed 10/21/11 Page 8 of 13

Between the period May 16, 2010 and the date that the written contract was presented to

Plaintiffs, Defendants refused to make any payments to Plaintiffs.

XXKV.

The written contract included payment terms different from the prior representations,
promises, and assurances of Defendants. The payment terms under the written agreement were

for rental at a rate of $8345 per month ($277.51 per day).
|
| XXVI1.

Upon presenting the written contract to Plaintiffs, Defendants expressly stated to
Plaintiffs that Defendants refused to make any further payments to Plaintiffs, including all
* payments owed to Plaintiffs for the rental period from May 16, 2010 through the date that the

contract was presented, unless and until Plaintiffs executed the written contract exactly as written

j with no changes whatsoever,
XXVII.

On or about September 15, 2010, Defendants presented Plaintiffs with a contract for the
rental of Plaintiffs’ property and with terms for the payment of rental charges that Defendants

unexpectedly attempted to make retroactive back to May 10, 2010, prior to the last payment

made by Defendants.
XXVIII.

During al! of the times material to this litigation, Plaintiffs were unable to operate the
marina and were unable to operate their property for any commercial purposes for which it

t would have been otherwise available if Defendants had not occupied Plaintiffs’ property.
XXTX.

Plaintiffs were placed in financial hardship as result of Defendants’ exclusive occupancy
of Plaintiffs’ property for the period May 16, 2010 through the date that the contract was

presented, as Defendants refused to provide Plaintiffs with any compensation during that period.

Page 6 of 9
——€ase 2710-md-02179-CJB-DPC Document 4372-1 Filed 10/21/11 Page 9of13

AXX,

Due to the financial hardship that Defendants placed upon Plaintiffs during that period,
due to Defendants’ exclusive occupancy of the property, and due to Defendants’ explicit
instructions that Plaintiffs would receive no payments whatsoever for past rental unless the

' contract was executed, Defendants placed Plaintiffs under duress.
XXXI.

Defendants provided compensation to Plaintiffs in the amount of $8435 per month for the

periods covering,May 16, 2010 through November 15, 2010.

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XXXII.

Defendants have refused to provide the compensation al the rate of $1500 per day as

Defendants had repeatedly promised to Plaintiffs.
XXXII.

As a result of the conduct described above, Defendants are liable unto Plaintiff pursuant

| to Article 1967 of the Louisiana Civil Code because:

A) Defendants made representations, promises and assurances to Plaintiffs;
B) Plaintiffs justifiably relied on the representations of Defendants; and
C) Plaintiffs suffered damages to their detriment as a result of the justifiable reliance on

the representations, promises, and assurances of Defendants.
XXXIV.

Plaintiffs: suffered damages in the form of the rental charges of $1500 per day for the
period May 16, 2010 through the termination of the lease on or about November 30, 2010, less a

deduction for the payments made by Defendants.

XXKV.

Page 7 of 9
Case 2:10-md-02179-CJB-DPC Document 4372-1 Filed 10/21/11 Page 10 of 13

Defendants’ conduct and representations were the direct and proximate cause of the

' damages suffered by Plaintiffs.
XXXVI.

Defendants are further liable unto Plaintiffs pursuant to Article 2315 because Defendants
were negligent in their misrepresentations to Plaintiffs that Plaintiffs would receive payment in
the amount of $1500 per day. Defendants failed to act as reasonably prudent persons under the
circumstances by. making representations that were untrue with actual or constructive knowledge
that Plaintiffs would change their position in reasonable reliance on those representations, and

Defendants knew or should have known that these representations were untrue.
XXXVIL.

To the extent that Defendants attempt to enforce the terms of a written contrac! between
the parties, Plaintitfs further request that this Court deem that this contract is null and void, as it

should be annulled for a vice of consent.

XXXVI

Plaintiffs submit that any written agreement between the parties is unenforceable,

because Plaintiffs’ consent was vitiated by the duress that Defendants placed upon Plaintiffs.
XAXXIX.

Accordingly, Defendants are liable unto Plaintiffs for the full rental. charges of $1500 per
day through the termination of the lease on or about November 30, 2010, with a deduction for .

prior payments made by Defendants.

WHEREFORE, Plaintiffs request that a copy of this Petition be filed into this Court and
served upon al] Defendants, that they be cited to appear and Answer same, and that after due
proceedings be had, that there be judgment in favor of Plaintiffs for all damages prayed for

herein, for all costs of these proceedings, for all attorneys’ fees incurred in this proceeding, for

Page 8 of 9
Case 2:10-md-02179-CJB-DPC Document 4372-1 Filed 10/21/11 Page 11 of 13

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judicial interest from the date of judicial demand, and for all relief as is proper and equitable

under the laws of Louisiana and the United States of America.

Respectfully Submitted,

FRISCHHERTZ, POULLIARD, FRISCHHERTZ,
& IMPASFATO, L.L.C.

WAZ
ASE
“Lloyd Frischhertz (# 57. 7
Dominick F. ato, IE (#29056)

1130 St. Charles Avenue

New Orleans, Louisiana 70130
Telephone: (504) 523-1500
Facsimile: (504) 581-1670

Please Serve:

BP America, Inc.
Through its registered agent
CT Corporation System
5615 Corporate Blvd.

Suite 400B :

Baton Rouge, LA 70808

BP Exploration & Production, Inc.
CT Corporation System |

5615 Corporate Blvd.

Suite 400B

Baton Rouge, LA 70808

A TRUE COPY
Lena R. Torres:
CLERK OF COURT
PARISH OF ST. BERNARD
STATE, OF LOUISEANA

Ore GE Wisp 14 201
/S/Lisa L. Borden

Page 9 of 9 By:
Case 2:10-md-02179-CJB-DPC Document 4372-1 Filed 10/21/11 Page 12 of 13

34TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. BERNARD

STATE OF LOUISIANA

No. 118,139 DIVISION “D”

FILED:

TO:

KENNETH AND VELMA CAMPO
versus

BP AMERICA, INC. AND BP EXPLORATION & PRODUCTION, INC.

OCT 1 7 201 /S/Jennifer L. Matlock

CE OVAL Ey, DEPUTY CLERK

NOTICE OF FILING NOTICE OF REMOVAL

Clerk of Court

34th Judicial District Court
Parish of St. Bernard

1101 St. Bernard Highway
P. O. Box 1746

Chalmette, LA 70044-1746

YOU ARE HEREBY NOTIFIED that a Notice of Removal in the above-captioned

case, a copy of which is annexed hereto, was filed in the United States District Court for the

Eastern District of Louisiana on the 14th day of October, 2011.

Respectfully submitted,

Sol qte—
Shannon S. Holtzman, T.A. (Bar #19993)

Katherine 8. Roth (#28224) (
LISKOW & LEWIS

701 Poydras Street, Suite 5000

One Shell Square

New Orleans, Louisiana 70139-5099
Telephone: (504) 581-7979

Facsimile: (504) 556-4108

Attorneys for BP America Inc. and BP
Exploration & Production Inc.
Case 2:10-md-02179-CJB-DPC Document 4372-1 Filed 10/21/11 Page 13 of 13

CERTIFICATE OF SERVICE

| HEREBY CERTIFY that a copy of the above and foregoing pleading has been served

upon all counsel of record by electronic mail prior to mailing this 14th day of October, 2011.

yy Aut mre

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